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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     )
                                                      )        No. 1:18-CR-457-AJT
BIJAN RAFIEKIAN, et al.,                              )
                                                      )
        Defendants.                                   )

       GOVERNMENT’S RESPONSE TO DEFENDANT ALPTEKIN’S OPPOSITION TO
              MOTION TO ESTABLISH CRIME-FRAUD EXCEPTION

        The United States has, in a separate filing, opposed defendant Kamil Ekim Alptekin’s

motion to specially appear to contest the government’s motion to establish the crime-fraud

exception. However, if the Court is inclined to grant Alptekin’s motion, we respectfully request

that the Court find the crime-fraud exception applicable to Alptekin’s putative attorney-client

privilege with Arent Fox.1

        After correctly stating the two-pronged standard for establishing the crime-fraud

exception on page 1 of his opposition, Alptekin misses an essential point of the case he cites on

page 3 as to the first prong. As his own case says, “an indictment may provide probable cause to

believe that the crime charged was committed.” United States v. Stewart, No. 03 CR. 717

(MGC), 2003 WL 23024461, at *2 (S.D.N.Y. Dec. 29, 2003) (emphasis added). In fact, more

recent, and higher, decisions have more definitively recognized that an indictment satisfies the

first prong required to establish the crime-fraud exception:

        The party invoking the crime-fraud exception “must make a prima facie showing:
        (1) that the client was engaged in (or was planning) criminal or fraudulent activity

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  We reiterate that the government is not aware of any evidence suggesting that Arent Fox or its
attorneys were aware that the statements that Alptekin made to them were false or that the
statements were otherwise in furtherance of any crime or fraud.
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         when the attorney-client communications took place; and (2) that the
         communications were intended by the client to facilitate or conceal the criminal or
         fraudulent activity. By prima facie showing, we mean “a reasonable basis to
         believe that the lawyer’s services were used by the client to foster a crime or
         fraud.” . . . As to the first part, the district court correctly noted that the indictment
         provides a reasonable basis to believe that [the defendant] was engaged in
         criminal or fraudulent activity.

United States v. Gorski, 807 F.3d 451, 460–61 (1st Cir. 2015) (emphasis in original, citations

omitted).

         The Supreme Court has held as much in a quite similar context. In Kaley v. United

States, 571 U.S. 320 (2014), the Court considered the weight to be given to an indictment in the

context of the pre-trial restraint of assets. The Court applied a standard for determining whether

pre-trial restraint is permissible that is very similar to the one for determining the application of

the crime-fraud exception:

         That determination has two parts, reflecting the requirements for forfeiture under
         federal law: There must be probable cause to think (1) that the defendant has
         committed an offense permitting forfeiture, and (2) that the property at issue has
         the requisite connection to that crime.

Kaley, 571 U.S. at 323–24.

         The Court held that the grand jury’s return of an indictment was conclusive as to the first

prong:

         “[A]n indictment ‘fair upon its face,’ and returned by a ‘properly constituted
         grand jury,’” we have explained, “conclusively determines the existence of
         probable cause” to believe the defendant perpetrated the offense alleged. And
         “conclusively” has meant, case in and case out, just that. We have found no
         “authority for looking into and revising the judgment of the grand jury upon the
         evidence, for the purpose of determining whether or not the finding was founded
         upon sufficient proof.” To the contrary, “the whole history of the grand jury
         institution” demonstrates that “a challenge to the reliability or competence of the
         evidence” supporting a grand jury's finding of probable cause “will not be heard.”
         The grand jury gets to say—without any review, oversight, or second-guessing—
         whether probable cause exists to think that a person committed a crime.

Kaley v. United States, 571 U.S. 320, 328 (2014) (citations omitted).


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       Two grand juries in this District returned indictments finding probable cause to believe

that Alptekin had conspired with Rafiekian to act as an agent of the Government of Turkey and

to make false statements on FIG’s FARA filing. That finding cannot be challenged, as Kaley and

Gorski make clear. It is a short hop from there to establishing the second prong of the crime-

fraud exception: that “the [communications] containing the privileged [information] bear a close

relationship to the client’s existing or future scheme to commit a crime or fraud.”

       For example, the Arent Fox opinion letter – expressly based upon representations made

by Alptekin – contained the following:

       INOVO is representing RATIO, a private sector Israeli company, that owns a
       15% share in the Leviathan gas consortium in Israel that wants to export gas into
       Turkey. INOVO was engaged in March 2016 by RATIO to advice on the
       investment climate in Turkey. As part of this contract RATIO also asked INOVO
       to provide geopolitical reporting with a special interest in Turkey’s continued
       alignment with the West/United States. After some period of time, RATIO
       determined that the limited reporting on such matters by INOVO was insufficient
       and RATIO requested that INOVO outsource this service to more expert
       providers. INOVO subsequently reached out to FIG in August 2016 with the
       question to measure the strength and challenges of Turkish American relations.

GEX 93B, p 3. On January 18, 2017, the day he received the memorandum from Arent Fox,

Alptekin forwarded it to defendant Rafiekian, who provided it to the law firm then conducting a

FARA inquiry on FIG’s behalf. These representations and others that Alptekin made to Arent

Fox were incorporated directly into FIG’s FARA filing:

       According to Arent Fox, LLP, counsel to Mr. Alptekin:

       1. lnovo is a privately owned company that has not received, directly or
       indirectly; funds or financial support from any government during the course of
       its engagement of Flynn Intel Group Inc., including the Republic of Turkey.

       2. At the time Inovo hired Flynn Intel Group, Inovo represented a private sector
       company in Israel that sought to export natural gas to Turkey, and it was for
       support of its consulting work for this client that Inovo engaged Flynn Intel
       Group, specifically to understand the tumultuous political climate at the time
       between the United States and Turkey so that Inovo could advise its client
       regarding its business opportunities and investment in Turkey.

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GEX 58. Plainly, these statements “bear a close relationship to the client’s . . . scheme to

commit a crime.”

       For these reasons, the United States respectfully requests that the Court find that the

crime-fraud exception applies with respect to any communications with, and any documents or

other information provided to, attorneys from Arent Fox by defendant Alptekin that touch upon

its representation of Alptekin in connection with the Flynn Intel Group and FIG’s FARA filing in

March 2017.

                                                       Respectfully submitted,

                                                       G. ZACHARY TERWILLIGER
                                                       UNITED STATES ATTORNEY


                /s/                              By:                /s/
 Evan N. Turgeon                                       James P. Gillis
 Trial Attorney                                        Virginia Bar No. 65055
 Counterintelligence                                   John T. Gibbs
    and Export Control Section                         Virginia Bar No. 40380
 National Security Division                            Assistant United States Attorneys
 United States Department of Justice                   The Justin W. Williams
 950 Pennsylvania Ave., NW                                United States Attorney=s Office
 Washington, DC 20530                                  2100 Jamieson Avenue
 (202) 353-0176                                        Alexandria, VA 22314
 Evan.Turgeon@usdoj.gov                                (703) 299-3700
                                                       (703) 299-3982 (fax)
                                                       James.P.Gillis@usdoj.gov
                                                       John.Gibbs@usdoj.gov




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2019, I electronically filed the foregoing using the

CM/ECF system, which will send a notification of such filing to counsel of record.

                                             Respectfully submitted,


                                                    /s/
                                             James P. Gillis
                                             Assistant United States Attorney




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